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 5
                    IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 6                           IN AND FOR THE COUNTY OF SKAGIT

 7    STIRLING HORT, LLC, a Washington                   Case No: 21-2-00587-29
      limited liability company,
 8                                                       NOTICE THAT ACTION HAS BEEN
                      Plaintiff,                         REMOVED TO FEDERAL DISTRICT
 9    v.                                                 COURT

10    INDUSTRIAL VENTILATION, INC., an
      Idaho corporation,
11
                      Defendants.
12
     TO:     Wolf & Lee, LLP, Plaintiff’s counsel of record;
13
     AND TO:         THE CLERK OF THE ABOVE-ENTITLED COURT
14
             COMES NOW the defendants and provides notice to the Skagit County Superior Court of
15
     the removal of this action by way of the attached Notice of Removal dated August 12, 2022, in the
16
     above-entitled action. This notice is provided pursuant to 28 U.S.C. § 1446(d) which provides in
17
     part that upon receipt the clerk of such State court “ . . . shall effect the removal and the State court
18
     shall proceed no further unless and until the case is remanded.”
19
             DATED this 15th day of August 2022.
20                                                   FREY BUCK, P.S.
21                                                   By: _________________
                                                         Ted Buck, WSBA #22029
22                                                       Nick Gross, WSBA #48236
                                                         Attorneys for Defendant Industrial Ventilation,
                                                         Inc.
23


      NOTICE THAT ACTION HAS BEEN REMOVED TO                                     Frey buck, p.s.
      FEDERAL DISTRICT COURT – Page 1 of 3                                   1200 FIFTH AVENUE, SUITE 1900
                                                                                    SEATTLE, WA 98101
                                                                             P: (206) 486-8000 F: (206) 902-9660
 1                                  CERTIFICATE OF SERVICE
            The undersigned certifies under the penalty of perjury according to the laws of the United
 2
     States and the State of Washington that on this date I caused to be served in the manner noted
 3
     below a copy of this document entitled NOTICE THAT ACTION HAS BEEN REMOVED TO
 4
     FEDERAL DISTRICT COURT on the following individuals:
 5
      Counsel for Plaintiff                           [X]     Via E-mail
 6    Mark J. Lee, WSBA #19339                        [ ]     Via E-Service
      Haylee J. Hurst, WSBA #51406
 7    Elizabeth Slattery, WSBA #56349
      Wolf & Lee, LLP
 8    230 E. Champion Street
      Bellingham, WA 98225
 9    mark@bellinghamlegal.com
      haylee@bellinghamlegal.com
10    elizabeth@bellinghamlegal.com

11
            DATED this 15th day of August 2022 at Seattle, Washington.
12
                                                     ________________
13                                                   Reychyl Ziemer

14

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16

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      NOTICE THAT ACTION HAS BEEN REMOVED TO                               Frey buck, p.s.
      FEDERAL DISTRICT COURT – Page 2 of 3                             1200 FIFTH AVENUE, SUITE 1900
                                                                              SEATTLE, WA 98101
                                                                       P: (206) 486-8000 F: (206) 902-9660
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 6

 7                             UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     STIRLING HORT, LLC, a Washington limited            Case No.
     liability company,
 9                                                       Removed from:
                                 Plaintiff,
10          vs.                                          Superior Court of the State of Washington,
                                                         Skagit County
11   INDUSTRIAL VENTILATION, Inc., an Idaho
     corporation,                                        State Court Civil No. 21-2-00587-29
12
                                 Defendant.              NOTICE OF REMOVAL OF CIVIL
                                                         ACTION PURSUANT TO 28 U.S.C. § 1441
13

14   TO: The Clerk of the Court
15   AND TO: Plaintiff Stirling Hort, LLC and its attorney Mark Lee of Wolf & Lee, LLP.
16          Defendant Industrial Ventilation, Inc. (“IVI”), by and through its attorneys, respectfully
17   state as follows:
18          1. IVI hereby exercises its rights under 28 U.S.C. § 1441 et seq. to remove this action,
19                on the basis of diversity of jurisdiction, from the Superior Court of the State of
20                Washington, Skagit County, in which the case is now pending as Stirling Hort, LLC
21                v. Industrial Ventilation, Inc., Case No. 21-2-00587-29.
22          2. This is a civil action in which plaintiff Stirling seeks more than $75,000 in damages.
23                Though Stirling did not demand a specific sum in its complaint, it has filed papers in

                                                                             FREY BUCK, P.S.
                                                                                   1200 Fifth Ave, Suite 1900
     NOTICE OF REMOVAL - 1                                                             Seattle WA 98101
                                                                             T E L 206.486.8000 FA X 206.902.9660
 1           state court claiming that its damages “exceed $700,000.00.” See Exhibit A (Stirling’s

 2           Memorandum of Law in Support of Motion to Approve Reasonableness of Settlement

 3           with Defendant Knutzen Farms, L.P.) at page 5, lines 3-5. By the preponderance of

 4           the evidence, the amount in controversy exceeds $75,000. See 28 U.S.C. §

 5           1446(b)(2)(B).

 6        3. Stirling is a limited liability company with its principal place of business in

 7           Washington State.

 8        4. IVI is a corporation with its principal place of business in Idaho.

 9        5. This Notice of Removal is timely under 28 U.S.C. § 1446(b)(3) because it is being

10           filed within thirty days after the August 4, 2022 dismissal from the case of defendant

11           Knutzen Farms, L.P. (“Knutzen”), a limited partnership with its principal place of

12           business in Washington State. See Exhibit B (DISMISSAL ORDER). Prior to

13           Knutzen’s dismissal, the action was not removable because two parties (Stirling and

14           Knutzen) were domiciled in Washington State and therefore the parties did not have

15           complete diversity of citizenship.

16        6. Based on the foregoing, removal of all claims and causes of action in this matter is

17           appropriate under 28 U.S.C. §1441 because Stirling and IVI are of diverse citizenship

18           and the amount in controversy exceeds $75,000.

19        7. Venue is proper in this district pursuant to 28 U.S.C. § 1391 because Stirling’s claims

20           allegedly arose in Skagit County, Washington. See Exhibit C (Complaint) at ¶1.4.

21        8. IVI removes this action to this Court without waiving any objections or defenses.

22        9. Pursuant to Local Civil Rule (“LCR”) 101(b), attached hereto are true and correct

23           copies of the operative complaint (Exhibit C) and a certificate of service listing all


                                                                        FREY BUCK, P.S.
                                                                              1200 Fifth Ave, Suite 1900
     NOTICE OF REMOVAL - 2                                                        Seattle WA 98101
                                                                        T E L 206.486.8000 FA X 206.902.9660
 1              counsel who have appeared in this action with their contact information, including

 2              email address (Exhibit D). No jury demand has been filed in this action. This Notice

 3              of Removal is also being filed with a Civil Cover Sheet.

 4          10. Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of

 5              Removal will be promptly served upon Stirling and filed with the court clerk of the

 6              Superior Court of the State of Washington, Skagit County.

 7          11. Pursuant to LCR 101(c), within fourteen days of the filing of this Notice of Removal,

 8              IVI will file with the court clerk true and correct copies of all additional records and

 9              proceedings in the state court.

10          WHEREFORE, IVI removes this action in its entirety from the Superior Court of the

11   State of Washington, Skagit County to the United States District Court for the Western District

12   of Washington at Seattle.

13

14          DATED this 15th day of August 2022, at Seattle, Washington.

15

16                                         By: _______________________________________
                                                  Ted Buck, WSBA #22029
17                                                Nick Gross, WSBA #48236
                                                  Attorneys for Defendant Industrial Ventilation, Inc.
18

19

20

21

22

23


                                                                           FREY BUCK, P.S.
                                                                                 1200 Fifth Ave, Suite 1900
     NOTICE OF REMOVAL - 3                                                           Seattle WA 98101
                                                                           T E L 206.486.8000 FA X 206.902.9660
 1                                         Certificate of Service

 2           The undersigned certifies under the penalty of perjury according to the laws of the United
     States and the State of Washington that on this date I caused to be served in the manner noted
 3   below a copy of this document entitled NOTICE OF REMOVAL OF CIVIL ACTION
     PURSUANT TO 28 U.S.C. § 1441 on the following individuals:
 4
     Counsel for Plaintiff                                  [ ]     USPS
 5   Mark J. Lee                                            [X]     E-service via E-mail
     Haylee J. Hurst
 6   Elizabeth Slattery
     Wolf & Lee, LLP
 7   230 E. Champion Street
     Bellingham, WA 98225
 8   E-mail: mark@bellinghamlegal.com
     E-mail: haylee@bellinghamlegal.com
 9   E-mail: elizabeth@bellinghamlegal.com

10

11
            DATED this 15th day of August, 2022, at Seattle, Washington.
12

13                                                    _____________________
                                                      Reychyl Ziemer
14

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                                                                         FREY BUCK, P.S.
                                                                               1200 Fifth Ave, Suite 1900
     NOTICE OF REMOVAL - 4                                                         Seattle WA 98101
                                                                         T E L 206.486.8000 FA X 206.902.9660
Exhibit A
 1

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 6
              IN THE SUPERIOR COURT FOR THE STATE OF WASHINGTON
 7                         IN AND FOR SKAGIT COUNTY

 8   STIRLING HORT, LLC, a Washington         )        CASE NO. 21-2-00587-29
     limited liability company,               )
 9                                            )        MEMORANDUM OF LAW IN SUPPORT OF
                   Plaintiff,                 )        PLAINTIFF STIRLING HORT, LLC’S
10                                            )        MOTION TO APPROVE
             vs.                              )        REASONABLENESS OF SETTLEMENT
11                                            )        WITH DEFENDANT KNUTZEN FARMS,
                                              )        L.P.
12   KNUTZEN FARMS, L.P., a Washington        )
     limited partnership; and INDUSTRIAL      )
13   VENTILATION, INC., an Idaho corporation, )
                                              )
14                 Defendants.                )
                                              )
15                                            )
16          Plaintiff Stirling Hort, LLC (“Stirling”) seeks recovery of damages arising from the
17
     release of herbicides and corresponding contamination of its marijuana plants, product, and
18
     seeds. Stirling has reached a conditional Settlement Agreement with Defendant Knutzen
19
     Farms, L.P. (“Knutzen”), in which Knutzen proposes to pay its insurance policy limits of
20
     $100,000.00 to Stirling in exchange for a full release of all claims. This would leave all claims
21
     against Defendant Industrial Ventilation, Inc. (“Industrial”) left to be litigated. Based upon
22
     RCW 4.22.060, Stirling seeks approval of the conditional settlement with Knutzen as
23

24

25   MEMORANDUM OF LAW IN SUPPORT OF                                   WOLF & LEE, LLP
     PLAINTIFF STIRLING HORT, LLC’S MOTION                            230 E. Champion Street
     TO APPROVE REASONABLENESS OF                                     Bellingham, WA 98225
     SETTLEMENT WITH DEFENDANT KNUTZEN                        Ph: (360) 676-0306/Fax: (360) 676-8058
     FARMS, L.P
     Page 1 of 10
 1   reasonable and further that Knutzen is free of all claims of Industrial for contribution and
 2   common law indemnity.
 3
                                              PERTINENT FACTS
 4
             Stirling holds a Marijuana Producer Tier 2 License from the Washington State Liquor
 5
     and Cannabis Board (“LCB”) and was operating from an independent building located at
 6
     15612 Best Road, Mount Vernon, Washington. Stirling’s loss arose when the LCB randomly
 7
     tested some of its plants and discovered Chlorpropham in amounts exceeding the state action
 8
     levels. Given this contamination, the LCB took possession and destroyed all of Stirling’s
 9

10
     plants, seeds, and product located at its facility.

11           Stirling maintains that the source of this contamination was fumigation work performed

12   for Knutzen. Knutzen is a potato farm, and in this capacity has for many years used a potato

13   storage room located in a separate building on the property on which Stirling’s facility was

14   located. In or around late 2018, Knutzen had potatoes in the storage room and decided that
15
     they needed to be treated with herbicides to inhibit sprouting. Declaration of Kraig Knutzen in
16
     Support of Plaintiff Stirling Hort, LLC’s Motion to Approve Reasonableness of Settlement
17
     with Knutzen Farms, L.P. (“Knutzen Declaration”), p. 2, ¶ 5. Knutzen has used Industrial for
18
     all herbicide applications for many years, and so would have, under its normal practices,
19
     contacted Industrial to perform the work. Id. at ¶ 4. Under normal protocol, Knutzen’s initial
20
     role would have been limited to advising Industrial of the storage location, the variety of the
21
     potatoes, and the tonnage. Id. at ¶ 5.
22

23
             On the day of the work, Kraig Knutzen, one of the partners of Knutzen, would have met

24   the Industrial personnel on site to open the door to the storage room and advise where the

25   MEMORANDUM OF LAW IN SUPPORT OF                                  WOLF & LEE, LLP
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     TO APPROVE REASONABLENESS OF                                    Bellingham, WA 98225
     SETTLEMENT WITH DEFENDANT KNUTZEN                       Ph: (360) 676-0306/Fax: (360) 676-8058
     FARMS, L.P
     Page 2 of 10
 1   power, air, and venting control systems were located. Once this general information was
 2   provided, then Mr. Knutzen would have left, and Industrial would have performed the actual
 3
     application work. This would include selection of the herbicide to use and the decision to
 4
     apply it through fumigation and the actual application of the herbicides. Id. at p. 3, ¶¶ 6-7.
 5
            Once the work was completed, Mr. Knutzen would have received a notice from
 6
     Industrial. When Knutzen re-entered the storage space, it would typically find a sticker placed
 7
     by Industrial on the air and vent controls that instructed it on when and how to restart these
 8
     systems. Knutzen always followed the instructions provided by Industrial. Id. at ¶ 8.
 9
            In this particular case, Mr. Knutzen was advised through a phone call from someone at
10

11   the Food Hub, an operation adjacent to the storage room, that herbicides had escaped the

12   storage room. Mr. Knutzen agrees that it was not desirable nor expected for herbicides to

13   escape. Knutzen had potatoes fumigated in the at-issue storage room on many prior occasions

14   by Industrial and never had any problems with herbicides escaping. Mr. Knutzen has no
15
     knowledge how the herbicides escaped the storage room. Id. at pp. 3-4, ¶ 9.
16
            All work to apply the herbicides to the potatoes was performed by Industrial, and
17
     Knutzen understood Industrial to be an independent contractor to Knutzen. Other than general
18
     information about the stored potatoes and the location of the facility, Knutzen relied upon
19
     Industrial to exercise its independent judgment and expertise to perform the work. Industrial
20
     performed all of the herbicide application work with its own equipment. Id. at p. 4, ¶ 10.
21
            Stirling and Knutzen have entered into a conditional Settlement Agreement to resolve
22

23
     this action as between them, which calls for Knutzen to pay Stirling its insurance policy limits

24   of $100,000.00 in exchange for a total release of all claims. Exhibit A to Affidavit of Mark J.

25   MEMORANDUM OF LAW IN SUPPORT OF                                    WOLF & LEE, LLP
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     TO APPROVE REASONABLENESS OF                                      Bellingham, WA 98225
     SETTLEMENT WITH DEFENDANT KNUTZEN                         Ph: (360) 676-0306/Fax: (360) 676-8058
     FARMS, L.P
     Page 3 of 10
 1   Lee. The Settlement Agreement makes clear that it is contingent upon securing confirmation
 2   as to its reasonableness under RCW 4.22.060 and confirmation that Knutzen is free of any
 3
     claims for contribution or indemnity. It is also clear that the proposed release, which is
 4
     contingent upon the above, extends only to claims of Stirling against Knutzen alone, and that
 5
     all claims against Industrial are not released and will continue to be prosecuted in this matter.
 6
                                               DISCUSSION
 7
            A.      The Proposed Settlement With Knutzen Is Reasonable.
 8
            RCW 4.22.060 provides as follows:
 9

10
            A party prior to entering into a release, covenant not to sue, covenant not to
            enforce judgment, or similar agreement with a claimant shall give five days'
11          written notice of such intent to all other parties and the court.…A hearing
            shall be held on the issue of the reasonableness of the amount to be paid with
12          all parties afforded an opportunity to present evidence. A determination by
            the court that the amount to be paid is reasonable must be secured.…
13
            The burden of proof regarding the reasonableness of the settlement offer shall
14          be on the party requesting the settlement.
15
     In general, a reasonableness hearing under this provision is “an equitable proceeding to which
16
     no jury trial right is afforded.” Bird v. Best Plumbing Grp., LLC, 175 Wn.2d 756, 773, 287
17
     P.3d 551 (2012). There are nine general factors that a court should consider in determining the
18
     “reasonableness” of a settlement, none of which are dispositive:
19
            [T]he releasing person's damages; the merits of the releasing person's liability
20          theory; the merits of the released person's defense theory; the released person's
            relative faults; the risks and expenses of continued litigation; the released
21          person's ability to pay; any evidence of bad faith, collusion, or fraud; the
            extent of the releasing person's investigation and preparation of the case; and
22
            the interests of the parties not being released.
23
     Glover v. Tacoma Gen. Hosp., 98 Wn.2d 708, 717, 658 P.2d 1230 (1983) (alteration in
24
     original) (quoting brief), abrogated on other grounds by Crown Controls v. Smiley, 110 Wn.2d
25   MEMORANDUM OF LAW IN SUPPORT OF                                    WOLF & LEE, LLP
     PLAINTIFF STIRLING HORT, LLC’S MOTION                             230 E. Champion Street
     TO APPROVE REASONABLENESS OF                                      Bellingham, WA 98225
     SETTLEMENT WITH DEFENDANT KNUTZEN                         Ph: (360) 676-0306/Fax: (360) 676-8058
     FARMS, L.P
     Page 4 of 10
 1   695, 756 P.2d 717 (1988). The court’s inquiry as to reasonableness is a fact specific one.
 2   Wood v. Milionis Construction, Inc., 198 Wn.2d 105, 121, 492 P.3d 813 (2021).
 3
            Here, the damages claimed by Stirling are significantly higher than the $100,000.00
 4
     settlement offer. Although investigation and discovery are still underway, early estimates
 5
     indicate that the damages exceed $700,000.00. However, all other relevant factors support the
 6
     reasonableness of the proposed settlement, in particular those focused on the potential liability
 7
     of Knutzen.
 8
            In terms of proving liability under its various claims, Stirling must establish that
 9

10
     Knutzen participated in the actual work that caused the trespass, nuisance, timber trespass, or

11   that is subject to strict liability. See Bradley v. American Smelting and Refining Co., 104

12   Wn.2d 677, 691, 709 P.2d 782 (1985) (trespass requires proof of an intentional act which

13   resulted in the invasion); Riblet v. Ideal Cement Co., 57 Wn.2d 619, 358 P.2d 975 (1961)

14   (nuisance claim arises from an act that unreasonably interferes with use and enjoyment of
15
     property); RCW 64.12.030 (liability extends to those persons who “cut down, girdle, or
16
     otherwise injure,” timber, trees, or shrubs of another); and Langan v. Valicopters, Inc., 88
17
     Wn.2d 855, 567 P.2d 218 (1977) (strict liability extends to those who undertake an abnormally
18
     dangerous activity). The initial facts here indicate that Industrial was the active party in terms
19
     of the critical act of applying the herbicides. It controlled all aspects of the work: It chose the
20
     product to apply, the method for application, and performed all of the work with its own
21
     equipment. Knutzen’s participation was limited to retaining Industrial, which it had done on
22

23
     many prior occasions without any issues.

24

25   MEMORANDUM OF LAW IN SUPPORT OF                                    WOLF & LEE, LLP
     PLAINTIFF STIRLING HORT, LLC’S MOTION                             230 E. Champion Street
     TO APPROVE REASONABLENESS OF                                      Bellingham, WA 98225
     SETTLEMENT WITH DEFENDANT KNUTZEN                         Ph: (360) 676-0306/Fax: (360) 676-8058
     FARMS, L.P
     Page 5 of 10
 1          Despite its lack of direct involvement, there is still a possibility that Knutzen could be
 2   vicariously liable for the actions of Industrial. However, those that applied the herbicides were
 3
     not employees of Knutzen but were instead employees of Industrial. In this, Knutzen will
 4
     inevitably argue that Industrial was an “independent contractor.” Such status arises where one
 5
     “‘contracts with another to do something for him but who is not controlled by the other nor
 6
     subject to the other's right to control with respect to his physical conduct in the performance of
 7
     the undertaking.’” Kamla v. Space Needle Corp., 147 Wn.2d 114, 119, 52 P.3d 472 (2002)
 8
     (quoting Restatement (Second) of Agency § 2(3) (1958)). The general rule is that one “is not
 9

10
     liable to landowners for the trespasses of the independent contractor or those employed by the

11   independent contractor, whether as agents or independent contractors themselves, unless the

12   trespass is the result of the advice or direction of the principal, or unless the principal has

13   notice of the trespass and fails to interfere.” Saddle Mountain Minerals, L.L.C. v. Santiago

14   Homes, Inc., 146 Wn.App. 69, 78, 189 P.3d 821 (2008) (quoting Ventoza v. Anderson, 14
15
     Wn.App. 882, 895, 545 P.2d 1219 (1976)). Stated another way, liability arises where the
16
     employer causes or knows of and sanctions illegal conduct. Hickle v. Whitney Farms, Inc.,
17
     107 Wn.App. 934, 940, 29 P.3d 50 (2001).
18
            Again, the initial information from Knutzen is that it had historically used Industrial to
19
     apply herbicides without issues, including in the at-issue storage space. Knutzen had no active
20
     involvement in the application, provided no instructions, and did not participate in any of the
21
     decisions associated with the work. Moreover, Knutzen did not become aware of the release
22

23
     until after the event. Accordingly, Stirling’s claim as to Knutzen’s liability would be weak,

24   while Knutzen’s defenses would be strong.

25   MEMORANDUM OF LAW IN SUPPORT OF                                    WOLF & LEE, LLP
     PLAINTIFF STIRLING HORT, LLC’S MOTION                             230 E. Champion Street
     TO APPROVE REASONABLENESS OF                                      Bellingham, WA 98225
     SETTLEMENT WITH DEFENDANT KNUTZEN                         Ph: (360) 676-0306/Fax: (360) 676-8058
     FARMS, L.P
     Page 6 of 10
 1          In addition to this, Knutzen’s policy limits are only $100,000.00 for the event, and so it
 2   is settling for policy limits. Although there is little doubt that Knutzen has assets that could
 3
     cover any judgment in excess of the policy limits, Stirling would need to go through collection
 4
     steps, versus securing the funds early and without any effort or cost.
 5
            It is important to recognize that in evaluating the “reasonableness” of the settlement
 6
     offer, the Court is not required to determine whether Knutzen would be liable. Instead, it only
 7
     reviews the proposed settlement amount against the potential damages to determine whether it
 8
     is “reasonable” in the context of Knutzen’s potential share of Stirling’s damages. Under the
 9

10
     circumstances, $100,000.00 is a reasonable amount to contribute towards Stirling’s potential

11   damages, given the strength and weaknesses of Stirling’s liability claims and Knutzen’s

12   defenses.

13          B.      The Release of All Claims Against Knutzen Does Not Release Industrial.

14          In addition to finding the settlement amount to be reasonable, Stirling is entitled to
15
     confirmation that the release contained in the conditional Settlement Agreement does not
16
     release Industrial from the claims made or that could be made by Stirling. RCW 4.22.060(2)
17
     provides: “A release, covenant not to sue, covenant not to enforce judgment, or similar
18
     agreement entered into by a claimant and a person liable discharges that person from all
19
     liability for contribution, but it does not discharge any other persons liable upon the same claim
20
     unless it so provides.” Here, the release in the conditional Settlement Agreement provides:
21
            Notwithstanding the above, nothing herein shall constitute an express or
22
            implied waiver or release of any claim that Stirling has or may have in the
23
            future against Ventilation, and this Agreement and release shall in no way
            apply to the claims raised or that may be raised by Stirling against Ventilation
24          in the Action. Stirling reserves any and all claims that it has against

25   MEMORANDUM OF LAW IN SUPPORT OF                                    WOLF & LEE, LLP
     PLAINTIFF STIRLING HORT, LLC’S MOTION                             230 E. Champion Street
     TO APPROVE REASONABLENESS OF                                      Bellingham, WA 98225
     SETTLEMENT WITH DEFENDANT KNUTZEN                         Ph: (360) 676-0306/Fax: (360) 676-8058
     FARMS, L.P
     Page 7 of 10
 1            Ventilation, including, but not limited to, those claims raised against it by
              Stirling in the Action.
 2
     Exhibit A to Affidavit of Mark J. Lee, p. 3, ¶ 4.
 3

 4
              This express language is the opposite of extending any discharge to Industrial. Since

 5   the pertinent release language does not provide for a discharge of any claim by Stirling against

 6   Industrial, the exception in RCW 4.22.060(2) would not apply, and all claims against Industrial

 7   are unaffected by the Settlement Agreement and its release.

 8            C.     All Contribution Claims Against Knutzen Are Discharged.
 9
              It is true that Stirling maintains that Industrial and Knutzen (to the extent it is found
10
     liable under any of the claims) would be jointly and severally liable in this action. RCW
11
     4.22.070 generally requires the fact finder to apportion “fault” for tort damages amongst all
12
     parties that caused the injury, and any defendant will only be liable for his/her/it proportionate
13
     share.   Here, such an apportionment would occur in the context of Stirling’s claims for
14
     statutory timber trespass, strict liability, and nuisance because each is included within the
15
     definition of “fault” under RCW Chapter 4.22.015. RCW 4.22.015 (fault under tort reform act
16

17   “includes acts or omissions,…that subject a person to strict tort liability….”); Porter v.

18   Kirkendoll, 194 Wn.2d 194, 207, 208-09, 449 P.3d 627 (2019). Notwithstanding this process,

19   however, defendants remain jointly and severally liable where the plaintiff is found to be fault

20   free. RCW 4.22.070(1)(b). Stirling maintains that this will be the circumstances in this case.
21            As to the trespass claim, joint and several liability continues to apply in the context of
22
     intentional torts. Welch v. Southland Corp., 134 Wn.2d 629, 634, 952 P.2d 162 (1998). A
23
     trespass claim is an intentional tort and therefore not subject to the application of RCW
24

25   MEMORANDUM OF LAW IN SUPPORT OF                                     WOLF & LEE, LLP
     PLAINTIFF STIRLING HORT, LLC’S MOTION                              230 E. Champion Street
     TO APPROVE REASONABLENESS OF                                       Bellingham, WA 98225
     SETTLEMENT WITH DEFENDANT KNUTZEN                          Ph: (360) 676-0306/Fax: (360) 676-8058
     FARMS, L.P
     Page 8 of 10
 1   Chapter 4.22, and joint and several liability remains. See Porter v. Kirkendoll, supra, 194
 2   Wn.2d at 207.
 3
              Under those claims covered by RCW Chapter 4.22, a jointly and severally liable party
 4
     has a claim of contribution against another at-fault party. RCW 4.22.040. However, this
 5
     Court’s review and determination of the reasonableness of the settlement amount bars any
 6
     contribution claim that Industrial may have against Knutzen. RCW 4.22.060(2). Moreover, by
 7
     virtue of the fact that the statutory timber trespass, strict liability, and nuisance claims are
 8
     covered by the Tort Reform Act, Industrial would also have no common law indemnity claim
 9

10
     against Knutzen. RCW 4.22.040(3). 1

11            The only potential remaining claim that Industrial could have against Knutzen would be

12   for common law indemnity arising from any liability distinctly and exclusively imposed on

13   Industrial for trespass. Porter v. Kirkendoll, supra, 194 Wn.2d at 204-05. However, such a

14   claim could only arise if Knutzen was the “active” tortfeasor, and Industrial was the passive
15
     tortfeasor. Rufener v. Scott, 46 Wn.2d 240, 242-43, 280 P.2d 253 (1955). The facts here
16
     establish that of the two parties, Knutzen was not the active tortfeasor, and therefore the
17
     potential for a common law indemnity claim, assuming distinct liability arose exclusively
18
     under a trespass claim, is unlikely.
19
                                                    CONCLUSION
20
              Based upon the above, Stirling respectfully requests that this Court issue an order
21
     finding and concluding as follows:
22

23   1 In reality, it is more likely that Industrial will benefit from the settlement payment by Knutzen. If it is found to

     be reasonable, the $100,000.00 will be offset against any judgment against Industrial. RCW 4.22.060(2). Since it
24   is more likely that Knutzen will be found fault free, or assigned a small percentage of fault, the $100,000.00 offset
     will likely be more than what Knutzen would have had to pay under an ultimate judgment.
25   MEMORANDUM OF LAW IN SUPPORT OF                                                   WOLF & LEE, LLP
     PLAINTIFF STIRLING HORT, LLC’S MOTION                                            230 E. Champion Street
     TO APPROVE REASONABLENESS OF                                                     Bellingham, WA 98225
     SETTLEMENT WITH DEFENDANT KNUTZEN                                        Ph: (360) 676-0306/Fax: (360) 676-8058
     FARMS, L.P
     Page 9 of 10
Exhibit B
                                                                                            S K A G I T C O U N T Y. W A S H
                                                                                                        FILED

 1
                                                                                                  AUG 0^1 2022
 2
                                                                                         MELISSA BEATON, CO. CLERK
                                                                                                                              Deputy
 3


 4


 3



 6                    I N T H E S U P E R I O R C O U RT O F T H E S TAT E O F WA S H I N G TO N
                                        IN AND FOR THE COUNTY OF SKAGIT
 7
      STIRLING HORT, LLC, aWashington
 8    limited liability company,                                            No. 21-2-00587-29


 9                                          Plaintiff,                      S T I P U L AT I O N A N D O R D E R O F
                                                                            DISMISSAL OF ALL CLAIMS
10              vs.                                                         AGAINST AND ALL
                                                                            COUNTERCLAIMS               OF          knUTZEN
I I    KNUTZEN FARMS, L.P., aWashington                                     FARMS, L.P ONLY WITH
       limited partnership; and INDUSTRIAL                                  PREJUDICE AND WII HOUT COSTS
12     VENTILATION, INC., an Idaho corporation.                             OR FEES


13
                                            Defendants.

14


15            It is hereby stipulated by the parties, by and through their undersigned attorneys, that all

16
      claims in this action against Defendant Knutzen Farms, L.P. only, and all counterclaims of

      Defendant Knutzen Farms, L.P. shall be dismissed with prejudice and without any award of
17
      costs to any party pursuant to CR 41(a)(1)(A) or fees. This Stipulation shall not affect the
18
      claims of any other paity^ in this action.
19
              DATED this 2U day of July, 2022.
20
      MIX SANDERS THOMPSON, PLLC                                        WOLF &LEE, LLP
21
                                                                                                For per email authority
22
      Mrk A. Thompson, WSBA No. 29730                                   Mark J. Lee, WSBA No. 19339
23    Attorney for Defendant Knutzen Farms, LP                          Haylee J. Hurst, WSBA No. 51406
                                                                        Elizabeth Slatteiy, WSBA No. 56349
24                                                                      Attorneys for Plaintiff


       S T I P U L AT I O N A N D O R D E R O F D I S M I S S A L - 1                      Mix Sanders Thompson PLLC
                                                                                            1420 Fifth Avenue, Suite 2200
                                                                                                 Seattle, WA 98101
                                                                                                  Te l ; 2 0 6 - 5 2 1 - 5 9 8 9
                                                                                                  Fax: 888-521-5980
■ p




      1                                                                ORDER


      1
                  Based on the foregoing stipulation by counsel.

      3           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that all claims in this action

      4   against Defendant Knutzen Farms, L.P. only, and all counterclaims of Defendant Knutzen

      5   Farms, L.P. are dismissed with prejudice and without an award of costs to any party pursuant to

      6   CR 41(a)(1)(A) or fees. This Order shall not affect the claims of any other party in this action.

      7           DONE IN OPEN COURT on this day of                               ,2022.

      8

                                                              HEATHER SHAND
      9
                                                  SUPERIOR COURT JUBGE/COMMISSIONER
10


11        Presented by:

12        MIX SANDERS THOMPSON, PLLC


13


14        Nfek A. ThompsonfWSBA No. 29730
          Attorney for Defendant Knutzen Farms, LP
15
          Approved as to form;
16
          WOLF &LEE, LLP
17
                                                    For per email authority'
18


19        Mark J. Lee, WSBA No. 19339
          Haylee J. Hurst, WSBA No. 51406
20        Elizabeth Slattery, WSBA No. 56349
          Attorneys for Plaintiff
21


22


23


2 4


           S T I P U L AT I O N A N D O R D E R O F D I S M I S S A L - 2      Mix Sanders Thompson PLLC
                                                                               1420 Fifth Avenue, Suite 2200
                                                                                    Seattle, WA 98101
                                                                                     Te ! : 2 0 6 - 5 2 1 - 5 9 8 9
                                                                                     Fax: 888-521-5980
Exhibit C
Exhibit D
                             Stirling Hort v. Industrial Ventilation, Inc.
                        Skagit County Superior Court Case No: 21-2-00587-29

Frey Buck Staff Assigned: TB/NG/RZ/SJ                                         File No: 12673.034952
 EMAIL SERVICE LIST:                              JUDGE
                                                  NONE ASSIGNED

 Plaintiff: Stirling Hort, LLC                    Associated Counsel: IVI
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 Haylee J. Hurst, WSBA #51406                     Rizzo Mattingly Bosworth, P.C.
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                                            Page 1 of 1
Civil Coversheet
JS 44 (Rev. 04/21)                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
       STIRLING HORT, LLC, a Washington limited liability
                                                                                                          INDUSTRIAL VENTILATION, Inc., an Idaho corporation
       company
   (b) County of Residence of First Listed Plaintiff Skagit                                              County of Residence of First Listed Defendant              Canyon
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

         See attachment                                                                                  See attachment

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                              830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                          Injury Product                                                     New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                  Liability                                                      840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                  SOCIAL SECURITY                      Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                         Other                       550 Civil Rights                  Actions                                                                State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. § 1441 et seq
VI. CAUSE OF ACTION Brief description of cause:
                                       diversity jurisdiction
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                               approx. $75,000                             JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
8/15/2022                                                            s/Ted Buck
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
I(c). Attorney Contact Information:

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